TO: Clerk’s Office
     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
________________________________________

     APPLICATION FOR LEAVE
   TO FILE DOCUMENT UNDER SEAL

                                                                                           A) If pursuant to a prior Court Order:
********************************                                                           Docket Number of Case in Which Entered:___________________
UNITED STATES OF AMERICA
                                                      PM                          Judge/Magistrate Judge:__________________________________
                                                                                           Date Entered:___________________________________________
              -v.-
         -v.-                                         _____________________
SHANE HENNEN                                          Docket Number

********************************
                                                                                           B) If a new application, the statute, regulation, or other legal basis that
SUBMITTED BY: Plaintiff____ Defendant____ DOJ ____
                                               ✔                                           authorizes filing under seal
Name:__________________________________________
       David I. Berman
Firm Name:______________________________________
          USAO EDNY                                                                        __________________________________________________________
                                                                                           ongoing criminal investigation; risk of flight
Address:_________________________________________
          271 Cadman Plaza East, BK NY, 11201                                              __________________________________________________________
________________________________________________
Phone Number:___________________________________
                718-254-6167                                                               ORDERED SEALED AND PLACED IN THE CLERK’S OFFICE,
E-Mail Address:___________________________________
                david.berman2@usdoj.gov                                                    AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                                                                                           THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES               NO ✔ __
If yes, state description of document to be entered on docket sheet:                       DATED:
                                                                                              ED: Brooklyn                          , NEW YORK

__________________________________________________
                                                                                                                               1/11/25
                                                                                           _________________________________________________________
                                                                                               __________________

__________________________________________________                                         U.S. MAGISTRATE JUDGE

                                                                                           RECEIVED IN CLERK’S OFFICE___________________________
                                                                                                                            DATE
MANDATORY CERTIFICATION OF SERVICE:
A.) ___ A copy of this application either has been or will be promptly served upon all parties to this action, B.) ___ Service is excused by 31 U.S.C. 3730(b), or by
the following other statute or regulation:______; or C.) ____This
                                                          ✔       is a criminal document submitted, and flight public safety, or security are significant concerns.
(Check one)

                           01/11/2025
                           __________________                     'DYLG,%HUPDQ
                                                               ______________________________
                              DATE                                      SIGNATURE
